Case 2:04-CV-02417-.]DB-STA Document 54 'Filed 05/09/05 Page 1 of 4 Page|D 75

FI!.EU 53"\" @U D.G.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 HM _O DH I_ 0 l

   

WESTERN DIVISION
sooner n ii ':'5'~;-:)Lzo
JOHNNY BEARD, FRED BAKER & ) CLE-:if<ij r:!,:_::_ r1 fit r“:'.
soNs ELECTRIC,INC ) ! ` ‘3
)
Plaintiffs, )
)
v. ) CASE NO. 04-2417-BA
)
BENICORP INSURANCE COl\/IPANY, )
)
Defendant. )

ORDER ON UNOPPOSED MOTION FOR EXTENSION ()F TIME

This matter having come before the Court on the Unopposed Motion for EXtension of
Time filed by the Defendant, Benicorp lnsurance Company, seeking a ten (10) day extension of
time up to and including May 15 , 2005 , Within Whieh it has to file a response or other pleading
responsive to Plaintiffs’ Arnended Complaint for Money Daniages, and the Court having
considered said Motion, now GRANTS said Motion.

lt is therefore, ORDERED, AJUDGED AND DECREED that the Defendant, Benioorp
lnsurance Colnpany, shall have until May 15, 2005, within which to file a response or other

pleading responsive to the Plaintiffs’ Amended Complaint for l\/Ioney Darnages.

/r”', .
Dated: ali U.l: O$/ <:§. //q WWI°¢J @~.j U_') m'T'

JUDGE, United States District Court
Western District of Tennessee, Western Division

Thls document entered on the docket sj¢{/ c ;n(;j,_-

with Ftule 58 and/or 79(a) FFlCP on

Case 2:04-CV-02417-.]DB-STA Document 54 Filed 05/09/05 Page 2 of 4 Page|D 76

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Honorable J. Breen
US DISTRICT COURT

